          Case 8:04-cr-00474-JSM-E_J Document 152 Filed 12/19/05 Page 1 of 6 PageID 315
A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case
                                                                                                                                          I
                                 UNITED STA TES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                              TAMPA DIVISION



UNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRIMINAL CASE

                                                                   CASE NUMBER: 8:04-cr-474-T-30EA.l
                                                                   USM NUMBER: 42252-018



PEDRO LUIS DE LA ROSA-HERNANDEZ
                                                                   Defendant's Attorney: Pedro Amador, cja.

THE DEFENDANT:

X pleaded guilty to count(s) ONE and TWO of the Indictment.
-
- pleaded nolo contendere to count@)which was accepted by the court.
- was found guilty on count@) after a plea of not guilty.

TITLE & SECTION                           NATURE OF OFFENSE                                  OFFENSE ENDED              COUNT

21 U.S.C. $960                            Possession With Intent to Distribute 5 Kilograms   September 4, 2004          One
                                          or More of Cocaine While On Board a Vessel
                                          Subject to the Jurisdiction of the United States

21 U.S.C. $960                            Conspiracy to Possess With Intent to Distribute     September 4, 2004         Two
                                          5 Kilograms or More of Cocaine While on Board
                                          A Vessel Subject to the Jurisdiction of the
                                          United States

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
                                                                                                                                      I
- The defendant has been found not guilty on count(s)
- Count(s) of the Indictment is dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                     Date of Imposition of Sentence: ApriI 28, 2005




                                                                                     UN$$D      STATES DISTRICT JUDGE!

                                                                                     DATE: December      /6 ,2005
         Case 8:04-cr-00474-JSM-E_J Document 152 Filed 12/19/05 Page 2 of 6 PageID 316
A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:       PEDRO LUIS DE LA ROSA-HERNANDEZ                                                  Judgment - Page 2 of 6
Case No. :       8:04-cr-474-T-30EAJ

                                                             IMPRISONMENT

        After considering t h e advisory sentencing guidelines a n d all of t h e factors identified in Title 18 U.S.C.
$8 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.

         The Court amended the Judgment and Commitment Order pursuant to remand from the Court of Appeals for
the limited purpose of correcting a clerical error regarding the Title and Offense and Nature of Offense information listed
on page one.

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and THIRTY-FIVE (135) MONTHS as to Counts One and Two of the
Indictment; all such terms to run concurrently.



X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Ft. Dix
(New Jersey), if possible.

X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                       at

                                                                        , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                        By:

                                                                        Deputy Marshal
            Case 8:04-cr-00474-JSM-E_J Document 152 Filed 12/19/05 Page 3 of 6 PageID 317
A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:            PEDRO LUIS DE LA ROSA-HERNANDEZ                                                   Judgment - Page 3of 6
Case No.:             8:04-cr-474-T-30EAJ
                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS as to
Counts One and Two of the Indictment; all such terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 7 2 hours of release
from the custody of the Bureau of Prisons.

T h e defendant shall not commit another federal, state, o r local crime.
T h e defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. T h e defendant shall submit to one drug test within 15 days of release f r o m imprisonment and at least two periodic d r u g
tests thereafter, as determined by the court.

X -T h e above drug testing condition is suspended, based o n the court's determination that the defendant poses a low risk o f future
-
           substance abuse. However, the Court authorizes the probation officer to conduct random drug testing not to exceed 104 tests
           per year.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)



            If this judgment imposes a fine o r a restitution it is a condition of supervised release that the defendant pay in accordance
            with the Schedule of Payments sheet of this judgment.

            T h e defendant shall comply with the standard conditions that have been adopted b y this court as well as with any additional
            conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the pernlission of the court or probation officer;

            the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
            month;

            the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

             the defendant shall support his or her dependents and meet other family responsibilities;

             the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;

             the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

             the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             s~lbstanceor any paraphernalia related to any controlled substances, except as prescribed by a physician;

             the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

             the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;

             the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;

             the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

             the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court;

             as d~rectedby the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
             or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
             compliance with such notification requirement.
          Case 8:04-cr-00474-JSM-E_J Document 152 Filed 12/19/05 Page 4 of 6 PageID 318

A 0 2458 (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:           PEDRO LUIS DE LA ROSA-HERNANDEZ                                                    Judgment - Page 4 of 6
Case No. :           8:04-cr-474-T-30EA.I
                                             SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


X
-          If the defendant be deported, helshe shall not be allowed to re-enter the United States without the express permission of the
           appropriate governmental authority.
          Case 8:04-cr-00474-JSM-E_J Document 152 Filed 12/19/05 Page 5 of 6 PageID 319
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:           PEDRO LUIS DE LA ROSA-HERNANDEZ                                                     Judgment - Page 5 of 6
Case No. :           8:04-cr-474-T-30EAJ

                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                                        Total Restitution

           Totals:              $200.00                                 Waived                    N/A


-         The determination of restitution i.s deferred until .                  An Amended Judgment in a Criminal Case ( A 0 245C) will
          be entered after such determination.

-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial. payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priorlty order 01: ercentage payment column below. However, pursuant to 18 U.S.C. 5
                                                             cf'
           3664(i), all nonfederal victims must be pal before the United States.
                                                                                                                 Priority Order or
                                                       *Total                       Amount of                    Percentage of
Name of Payee                                        Amount of Loss              Restitution Ordered             Payment




                                Totals:              $-                          L-.

-          Restitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 4 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 4 3612(g).
-          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - f i e          - restitution.

          -          the interest requirement for the              fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.        B
         Case 8:04-cr-00474-JSM-E_J Document 152 Filed 12/19/05 Page 6 of 6 PageID 320
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        PEDRO LUIS DE LA ROSA-HERNANDEZ                                          Judgment - Page 6of 6
Case No.:         8:04-cr-474-T-30EAJ


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                   , or

                            -in accordance - C ,                D, - E or - F below; or
                  Payment to begin immediately (may be combined with -C , -D, or -F below); or
                  Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g ., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
                  Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                               , (e.g . , months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                          (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
monetar penalties is due during im risonment. All criminal monetary penalties, except                               made through the
         b                             F
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.

-        The defendant shall pay the following court cost(s):

-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and ro erty,
or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the de en ant's
nominees.
                                                                                                                             PB

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
